        Case 2:14-cr-00103-GMN-VCF          Document 276      Filed 04/26/16    Page 1 of 1




 1                               UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                       )
 4                                                   )
                           Plaintiff,                ) Case No.: 2:14-cr-00103-GMN-VCF-3
 5
           vs.                                       )
 6                                                   ) ORDER
     TOMAS MARTINEZ-BRAVO,                           )
 7                                                   )
                           Defendant.                )
 8                                                   )
 9
10          On April 15, 2016, the defendant filed a Motion for Appointment of Counsel (ECF No.
11   274) and a Motion for a Sentence Reduction Under Amendment 782 of 18 U.S.C. § 3582(c)
12   (ECF No. 275). At the time of sentencing, a minus two level reduction pursuant to the
13   Attorney General Directive was applied in accordance with the defendant’s Plea Agreement
14   (ECF No. 153). Further, the Plea Agreement states, “In exchange for this recommendation, the
15   Defendant agrees not to seek, and expressly waives the right to seek, a further reduced
16   sentence, pursuant to Title 18, United States Code, Section 3582(c)(1)(B), in the event that the
17   two-level reduction is adopted and made retroactive by the Sentencing Commission.” (Plea
18   Agreement 6:19-22).
19          Accordingly,
20          IT IS HEREBY ORDERED that Defendant’s Motion for Appointment of Counsel
21   (ECF No. 274) and a Motion for a Sentence Reduction Under Amendment 782 of 18 U.S.C. §
22   3582(c) (ECF No. 275) are DENIED.
23                      26
           DATED this _____ day of April, 2016.
24
                                                  ___________________________________
25                                                Gloria M. Navarro, Chief Judge
                                                  United States District Court

                                                Page 1 of 1
